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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO: 22-14102-CV-MIDDLEBROOKS

   DONALD J. TRUMP,

          Plaintiff,
   v.

   HILLARY R. CLINTON, et al.,

         Defendants.
   _________________________________/

                ORDER GRANTING MOTION FOR SUBSTITUTION OF COUNSEL

          THIS CAUSE comes before the Court upon Defendant Neustar, Inc.’s Unopposed Motion for

   Substitution of Counsel (DE 158), filed on May 20, 2022. The Motion represents that Defendant

   Neustar has requested to substitute Jennifer Olmedo-Rodriguez, Esq., of the law firm Buchanan

   Ingersoll & Rooney PC, as counsel of record in place of its current counsel of record, Alexandria N.

   Epps, Esq. of Quilling, Selander, Lownds, Winslett & Moser. (Id.). Having considered the Motion, it

   is hereby ORDERED AND ADJUDGED as follows:

          (1)     Defendant Neustar, Inc.’s Motion to Substitute Counsel (DE 158) is GRANTED.

          (2)     Attorney Alexandria N. Epps of Quilling, Selander, Lownds, Winslett & Moser shall

                  no longer have any responsibility for this matter. The Clerk of Court SHALL remove

                  Attorney Alexandria N. Epps from the CM/ECF notification system.

          (3)     Attorney Jennifer Olmedo-Rodriguez SHALL be substituted as counsel of record for

                  Defendant Neustar, Inc.

          SIGNED in Chambers at West Palm Beach, Florida, this 23rd day of May, 2022.




                                                                Donald M. Middlebrooks
                                                                United States District Judge
   cc:    Counsel of Record
